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                                   EXHIBIT A


                                  (Proposed Order)




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                        )   Chapter 11
                                                              )
CENTER CITY HEALTHCARE, LLC d/b/a                             )   Case No. 19-11466 (MFW)
HAHNEMANN UNIVERSITY HOSPITAL, et                             )
al.,1                                                         )   Jointly Administered
                                                              )
                                    Debtors.                  )   Related to Docket No. ___
                                                              )

                    ORDER APPROVING SETTLEMENT OF PREFERENCE
                   CLAIMS AGAINST BECKMAN COULTER INC. PURSUANT
                   TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 9019

           The Court having considered the motion (the “Motion”)2 of the above-captioned debtors

  and debtors in possession (collectively, the “Debtors”), pursuant to Rule 9019 of the Federal Rules

  of Bankruptcy Procedure for approval of the settlement of certain claims for avoidance and

  recovery of allegedly preferential transfers (the “Preference Claims”), as set forth in the

  Settlement Agreement attached as Exhibit 1 hereto; and the Court finding that the Settlement

  Agreement is fair and reasonable, and the Court having jurisdiction to consider the Motion and the

  relief requested therein; and due and sufficient notice of the Motion having been given; and it

  appearing that the relief requested by the Motion is in the best interest of the Debtors’ estates,

  creditors and other parties in interest; and the Court having reviewed the Motion and considered




  1 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
    Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
    Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617),
    SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center, L.L.C. (6447), SCHC
    Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics, L.L.C. (4056), TPS of PA,
    L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C. (5537), and TPS
    V of PA, L.L.C. (5540). The Debtors’ mailing address is 216 North Broad Street, 4th Floor, Philadelphia,
    Pennsylvania 19102.
  2 Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.



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the arguments made at the hearing, if any; and after due deliberation and sufficient cause appearing

therefor

        IT IS HEREBY ORDERED THAT::

        1.      The Motion is Granted as set forth herein.

        2.      The Settlement Agreement attached hereto as Exhibit 1 with respect to the Debtors’

Preference Claims against Beckman Coulter Inc. is hereby approved in full and final settlement of

such claims.

        3.      The Court shall retain jurisdiction over all affected parties with respect to any

matters, claims or rights arising from or related to the implementation and interpretation of

this Order.




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                                       EXHIBIT 1

                                  (Settlement Agreement)




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                                 SETTLEMENT AGREEMENT

       This Settlement Agreement (“Agreement”) is entered into as of the 25th
                                                                            ___ day of April 2022,
by and between Center City, Healthcare, LLC d/b/a Hahnemann University Hospital, Philadelphia
Academic Health System, LLC, St. Christopher’s Healthcare, LLC d/b/a St. Christopher’s
Hospital for Children and certain of their affiliates (collectively, the “Debtors”) and Beckman
Coulter Inc. (“Beckman Coulter”), (the Debtors and Beckman Coulter, together, the “Parties”)
by and through their respective duly authorized undersigned counsel.

                                            RECITALS

        WHEREAS, on June 30 and July 1, 2019 (collectively, the “Petition Date”), each of the
Debtors filed a voluntary petition for relief under chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”). The Debtors are operating their businesses and managing their properties
as debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On the
Petition Date, the Debtors moved for joint administration and procedural consolidation of the
chapter 11 cases pursuant to Bankruptcy Rule 1015(b), and the cases were so consolidated under
Case No. 19-11466;

        WHEREAS, the Debtors and their estates maintain the right to prosecute and settle all
estate claims and causes of action, including, but not limited to, avoidance actions under chapter
5 of the Bankruptcy Code;

        WHEREAS, the Debtors, after review of their books and records, have asserted that
Beckman Coulter received transfers (the “Transfers”) from the Debtors of no less than $657,924,
on or within the 90 days before the Petition Date and have demanded the return of the Transfers
as alleged preferential transfers that are subject to avoidance and recovery pursuant to sections 547
and 550 of the Bankruptcy Code;

        WHEREAS, Beckman Coulter disputes any liability for return of the Transfers;

         WHEREAS, the Parties have engaged in discussions and exchanged information regarding
the Transfers and, as a result of those discussions, and to avoid further costs and the attendant risks
of litigation, have decided to resolve the dispute concerning the Transfers upon the terms and
conditions set forth in this Agreement,

        NOW THEREFORE, in consideration of the mutual promises and covenants contained
herein, the receipt and sufficiency of which are hereby mutually acknowledged, the Debtors and
Beckman Coulter agree as follows:




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                                          AGREEMENT

       Settlement. In settlement of the dispute between the Parties and in full and final satisfaction
of the Debtors’ claim with respect to the Transfers, Beckman Coulter shall pay to the Debtors
$15,000.00 (the “Settlement Amount”) within fifteen (15) days of the date of this Agreement.
Payment shall be made by wire or by check, payable to “Philadelphia Academic Health System,”
and sent to:

                              Philadelphia Academic Health System
                                      c/o Eisner Amper LLP
                                      Attention: Allen Wilen
                                        One Logan Square
                                  130 North 18th St., Suite 3000
                                     Philadelphia, PA 19103

        Bankruptcy Court Approval. The Parties acknowledge that this Agreement is subject to
Bankruptcy Court approval. No later than thirty (30) days after receipt of the Settlement Amount,
the Debtors shall file a motion (the “Motion”) with the Bankruptcy Court for entry of an Order
approving the terms of this Agreement. In the event that the Bankruptcy Court does not approve
the Motion by entry of a Final Order, this Agreement shall be null and void and of no force and
effect against either of the Parties and any part of the Settlement Amount that has been paid shall
be returned to Beckman Coulter, without interest. An order will be considered to be a “Final
Order” if the order is not subject to any timely appeal or motion for reconsideration.

       Debtors Release. Except for the obligations arising under this Agreement, and effective
upon Bankruptcy Court approval of this Agreement pursuant to a Final Order, the Debtors and the
Debtors’ estates, release and discharge Beckman Coulter and its officers, directors, agents,
employees, representatives and attorneys, from any and all claims and causes of action, whether
known or unknown, of any nature or type, that the Debtors and the Debtors’ estates have or may
have against Beckman Coulter, including, but not limited to, any claims related to the Transfers.

        Beckman Coulter Release. Except for the obligations arising under this Agreement, and
effective upon Bankruptcy Court approval of this Agreement pursuant to a Final Order, Beckman
Coulter releases and discharges the Debtors, the Debtors’ estates, and their respective officers,
directors, agents, employees, representatives and attorneys, from any and all claims and causes of
action, whether known or unknown, of any nature or type that Beckman Coulter has or may have
against the Debtors and the Debtors’ estates, including any claims arising under section 502(h) of
the Bankruptcy Code; provided, however, that Beckman Coulter does not waive any rights with
respect to any timely filed proofs of claim and/or scheduled claims held against the Debtors, and
the Debtors maintain all rights to object thereto.

        No Admission of Liability. This Agreement is a compromise of disputed claims and shall
not be construed as an admission of liability or responsibility for any purpose by any Party.

       Choice of Law. This Agreement shall be governed by the laws of the State of Delaware,
and shall be construed and interpreted in accordance with its laws, notwithstanding its conflict of



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laws principles or any other rule or regulation that would result in the application of any other
state’s law.

       Authority of Parties. The Parties, by and through their undersigned counsel, each represent
and warrant that the undersigned is fully authorized and empowered to execute and deliver this
Agreement on behalf of, and to bind, each Party, as applicable, to the terms and conditions of this
Agreement; provided, however, that the Debtors’ authorization is subject to Bankruptcy Court
approval and this Agreement shall become effective upon the order approving this Agreement
becoming a Final Order.

       Merger. The Parties acknowledge that this Agreement constitutes the entire agreement
between the Parties with respect to the subject matter hereof, and all prior agreements,
negotiations, and understandings with respect to the subject matter hereof are canceled and
superseded by this Agreement. This Agreement may only be modified by an instrument in writing
executed by each of the Parties hereto.

        Execution of Agreement. This Agreement may be executed in one or more counterparts,
any of which need not contain the signatures of more than one party, but all such counterparts
taken together shall constitute one and the same agreement. Facsimile, electronic mail and scanned
signatures shall be deemed to have the full force and effect of ink signatures.

       Enforcement of Agreement. In the event that legal action is instituted to enforce this
Agreement, the prevailing party shall be entitled to recover from the losing party all costs and
expenses of litigation, including, without limitation, court costs and reasonable attorneys’ fees.

       Jurisdiction. The Bankruptcy Court shall retain jurisdiction to resolve any disputes or
controversies arising from or related to this Agreement. The Parties consent to the jurisdiction of
the Bankruptcy Court to resolve any disputes or controversies arising from or related to this
Agreement.

        Construction. Each party represents and warrants that it has had an opportunity to fully
review the provisions of this Agreement, as a result of which the Parties hereto acknowledge and
agree (a) that any rule of law that provides that ambiguities are to be construed against the drafting
party shall not be employed in the interpretation of this Agreement and (b) that each party signing
this Agreement is entering into this Agreement knowingly, voluntarily, and of its own free will.



                            [remainder of page left intentionally blank]




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